              Case 3:23-cv-00636
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                                                       Haslam Law Firm LLC09/26/24
                                                                           Mail - Re: HudsonPage
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                                                                                                      et al.



                                                                                               Tyler Haslam <tyler@haslamlawfirm.com>



  Re: Hudson v. Racer, et al.
  1 message

  Tyler Haslam <tyler@haslamlawfirm.com>                                                Fri, Sep 13, 2024 at 4:10 PM
  To: "Stebbins, James C." <jstebbins@flahertylegal.com>
  Cc: Kerry Nessel <nessel@comcast.net>, "Wendy E. Greve" <wgreve@pffwv.com>, Jayne Hudnall <jhudnall@pffwv.com>,
  "Burdette, Danica N." <dburdette@flahertylegal.com>

    Jamie,

    Racer can and should be deposed a second time, particularly as it relates to the newly discovered information about his
    orbital fracture and brain bleed.

    Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders promulgated by the
    Southern District.

    We are trying to resolve this without court intervention, and we would like to avoid the unnecessary cost and delay
    associated with trying to compel his deposition through the court. Given the time constraints placed on depositions by
    order this week, we will ask the Court to intervene Monday morning if this issue cannot be resolved amicably between
    now and then.

    Tyler

    On Fri, Sep 13, 2024 at 4:00 PM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

       Kerry:


       I managed to talk to Mr. Racer today and he is not willing to be deposed voluntarily a second time. He is
       not trying to be difficult but we think that the request is not fair or reasonable for many reasons.


       First of all, as you know, Mr. Racer was made available on July 2, 2024 starting at 9:00 in the morning and
       when Plaintiff decided to terminate his deposition at 2:15 p.m., that was not because of any request by Mr.
       Racer or his counsel to stop and we would have made him available for the remainder of the afternoon if
       necessary. We had no discussion at that time that there was any reason to leave the deposition open.


       Secondly, I do not think that it is fair to ask Mr. Racer to subject himself to another deposition so that you
       can ask him questions about the KCSD investigation report. You have known about the existence of that
       report since it was first disclosed by the County Defendants in this case in their initial disclosures on July
       2. 2024. The disclosures by the County Defendants indicated that the report would be made available to
       the other parties upon entry of a Protective Order and I do not believe that Plaintiff ever submitted any
       proposed Protective Order to obtain those documents prior to deciding to take Mr. Racer’s deposition.


       I would also note that Mr. Haslam already asked Mr. Racer’s questions about that investigation during his
       deposition.


       I am also aware of case law holding that if a party chooses to prematurely take a deposition before
       document discovery is complete, that is not an excuse for subjecting a witness to a second deposition.


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       Third, the Rules clearly contemplate only 1 deposition per witness unless stipulated by the parties.


       Lastly, as you know, Mr. Racer is currently enrolled at the West Virginia State Police Academy where he
       hopes to graduate on December 13, 2024. I understand that this training is taxing both mentally and
       physically and I do not think that it is fair to ask him to prepare for and undergo a deposition (especially a
       second deposition) while he is in the middle of that training.


       Based upon all of the above, I must respectfully decline your request. If you would like to discuss this
       further, please give me a call.


       Have a nice weekend everyone.


       Best,


       Jamie



       James C. Stebbins
       Member




       Flaherty
       FLAHERTY SENSABAUGH BONASSO PLLC

       P.O. BOX 3843

       CHARLESTON, WV 25338

       OVERNIGHT:


       200 CAPITOL STREET

       CHARLESTON, WV 25301

       PHONE: 304.205.6388

       FAX: 304.345.0260




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       From: Kerry Nessel <nessel@comcast.net>
       Sent: Thursday, September 12, 2024 12:41 PM
       To: Stebbins, James C. <jstebbins@flahertylegal.com>
       Cc: Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>;
https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r3833142322541535590&simpl=msg…   2/4
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       tyler@haslamlawfirm.com; Burdette, Danica N. <dburdette@flahertylegal.com>
       Subject: Re: Hudson v. Racer, et al.




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       Thanks for thorough response.



       Sent from my iPhone




               On Sep 12, 2024, at 12:10 PM, Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

               ﻿

               Hi Kerry:


               I need to look at some things regarding this request and am under a deadline in another
               matter today and I also want to try to reach out to my client about it. I will give you a full
               response tomorrow even if I am unable to reach him. I did not want you to think I was
               ignoring this request since you asked for an answer ASAP.


               Best,


               Jamie



               James C. Stebbins
               Member




               Flaherty
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               From: KERRY NESSEL <nessel@comcast.net>
               Sent: Wednesday, September 11, 2024 2:17 PM
               To: Stebbins, James C. <jstebbins@flahertylegal.com>; Wendy E. Greve
               <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
               Cc: tyler@haslamlawfirm.com
               Subject: Hudson v. Racer, et al.




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                Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions. As the Court entered and order yesterday extending the deposition deadline to Sept 27 a ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




               Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal
               affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions.

               As the Court entered and order yesterday extending the deposition deadline to Sept 27 and the recent
               disclosure, we believe our request is reasonable.

               Please let me know ASAP.

               Additionally, considering Racer had been brutally battered by no less than 5 men at a bar and suffered
               significant physical injuries, including a brain bleed and broken orbital bone on his left side, we request his
               medical records concerning the same.

               Further, we are willing to travel to the WVSP academy to conduct this deposition.

               Finally, please provide us dates for your availability to depose Lt. Pile. I assume this will have to take
               place in Chas.

               Thanks.

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